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            ☰                             Android Developers Blog                                                   🔍




               16 March 2021




               Boosting developer success
               on Google Play


               Posted by Sameer Samat, VP, Product Management

               Helping developers build sustainable businesses is a core part of Google Play’s
               mission. We work with partners every day to understand the challenges they face
               and help them bring their innovative ideas to life. Getting a new app off the ground
               and into orbit is not easy! To aid their quest for growth we provide a broad range of
               support, from powerful marketing tools and actionable data in the Play Console,
               education via Play Academy, best practices and thought leadership resources,
               programs such as the Indie Games Festival, Indie Corner, and accelerator programs
               around the world. We’re always looking for new ways to give them an added boost.

               Starting on July 1, 2021 we are reducing the service fee Google Play receives when
               a developer sells digital goods or services to 15% for the first $1M (USD) of revenue



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               every developer earns each year. With this change, 99% of developers globally that
            ☰sell digital goods and
                                 Android  Developers
                                    services                                                    🔍
                                                       Blogsee a 50% reduction in fees. These are
                                             with Play will
               funds that can help developers scale up at a critical phase of their growth by hiring
               more engineers, adding to their marketing staff, increasing server capacity, and
               more.

               While these investments are most critical when developers are in the earlier stages
               of growth, scaling an app doesn’t stop once a partner has reached $1M in revenue
               — we’ve heard from our partners making $2M, $5M and even $10M a year that their
               services are still on a path to self-sustaining orbit. This is why we are making this
               reduced fee on the first $1M of total revenue earned each year available to every
               Play developer, regardless of size. We believe this is a fair approach that aligns with
               Google’s broader mission to help all developers succeed. We look forward to
               sharing full details in the coming months.

               As a platform we do not succeed unless our partners succeed. Android and Google
               Play have always listened to our developer partners from around the world and we
               continue to take their input into account as we build and run the ecosystem. We
               look forward to seeing more businesses scale to new heights on Android, and to
               further discussions with our developer community to find new ways to support
               them technically and economically as they build their businesses.




                   Apps           developer success                developers    Featured          Google Play


                   latest          service fees




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